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                             UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
   LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC


   This document relates to:                        ORDER GRANTING IN PART
                                                    MOTION FOR LEAVE TO FILE
   Booth v. Monsanto Co.,                           MOTION FOR RECONSIDERATION
   Case No. 3:20-cv-04654-VC
                                                    Re: Dkt. No. 20482


        The request for leave to file a motion for reconsideration of the Court’s Pretrial Order

No. 324—insofar as it granted Monsanto’s motion to exclude plaintiffs’ expert Dr. Kevin

Knopf’s opinion regarding the above captioned matter—is granted. The brief filed by Booth in

support of that request is deemed the motion for reconsideration. Monsanto is ordered to file a

response to plaintiffs’ motion for reconsideration within 7 days. Booth may file a reply 7 days

thereafter.

        The Court is tentatively inclined to think that the failure to meaningfully consider

Booth’s family history of solid tumors is not enough, on its own, to exclude Knopf’s opinion.

However, with many of the experts excluded in Wave 7 cases, the Court did not discuss each

flaw in each expert’s opinion. Therefore, in addition to addressing Knopf’s treatment of Booth’s

family history, Monsanto should flag any other serious issues it believes exist with Knopf’s

opinion, such as whether he adequately considered Booth’s history of Type 2 diabetes.
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Monsanto’s response may not exceed 15 pages, and Booth’s reply may not exceed 10 pages.

       IT IS SO ORDERED.

Dated: May 19, 2025
                                          ______________________________________
                                          VINCE CHHABRIA
                                          United States District Judge




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